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15                                  UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
16                                     SAN FRANCISCO DIVISION
17 AMERICAN FEDERATION OF            )
   GOVERNMENT EMPLOYEES, et al.      )                        Case No. 3:25-cv-1780-WHA
18                                   )
         Plaintiffs,                 )                        ADMINISTRATIVE MOTION TO FILE
19                                   )                        AGENCY LISTS OF EMPLOYEES UNDER
                 v.                  )                        SEAL
20                                   )
   UNITED STATES OFFICE OF PERSONNEL )                        Honorable William H. Alsup
21 MANAGEMENT, et al.,               )
                                     )
22      Defendants.                  )
                                     )
23

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     Defendants’ Admin. Mot. to File Agency Lists of Employees Under Seal
     NO. 3:25-CV-1780-WHA
            Case 3:25-cv-01780-WHA              Document 143          Filed 03/20/25   Page 2 of 3




 1           Pursuant to Civil Local Rule 7-11 and 79-5(c), Defendants move to file under seal unredacted

 2 copies of the federal-employee information the Court has ordered to be filed following the entry of the

 3 preliminary injunction in this matter on March 13, 2025. See Tr. of March 13, 2025, Hrg. at 53:13-16,

 4 20-22, ECF No. 120. In issuing the preliminary injunction, this Court ordered six agency Defendants to

 5 “submit a list of all probationary employees terminated on or about February 13th and 14th with an

 6 explanation as to each of what has been done to comply with this order.” Id. Defendants are submitting

 7 this information but are moving to file it under seal because the information contains the personal

 8 identifying information (“PII”) of federal employees that should remain confidential. Redacted copies

 9 will be filed on the public docket.

10           Because the information Defendants seek to seal is not being submitted in support of any

11 argument for relief on the merits, but rather to update the Court on actions taken by Defendants

12 following issuance of the preliminary injunction, the “good cause” standard applies. See Ctr. for Auto

13 Safety v. Chrysler Group, LLC, 809 F.3d 1092, 1097 (9th Cir. 2016) (internal citations omitted). Even

14 under the more stringent “compelling reasons” standard for sealing some information, courts in this

15 District routinely order the sealing of third-party PII. See, e.g., Opperman v. Path, Inc., No. 13-cv-453,

16 2017 WL 1036652, at *4 (N.D. Cal. Mar. 17, 2017) (exhibit containing “the names, email addresses, and

17 phone numbers of non-part[ies]” provided “compelling reasons to seal [it] in its entirety”).

18           In this case, there is both good cause and a compelling reason to protect federal employee PII

19 from public disclosure here. First, absent an applicable exemption, the Privacy Act protects such

20 information from disclosure. See 5 U.S.C. § 522a(b). Second, the federal employees identified in the

21 documents are not parties to this litigation and have their own privacy interests; therefore there is no

22 need for public disclosure of their identities or their PII at this point in the proceedings. See Foltz v.

23 State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1137 (9th Cir. 2003) (recognizing the need to “protect

24 third-party privacy interests” in “personnel records”). If sealing were denied, the names and PII of third-

25 party employees will be exposed to public attention in this high-profile litigation. And because the

26 Court’s order specifically requires the submission of employee PII, see Tr. of March 13, 2025, Hrg. at

27 53:13-16, 20-22, no less-restrictive alternative (such as redacting that information) is sufficient here.

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     Defendants’ Admin. Mot. to File Agency Lists of Employees Under Seal
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 1                                                    CONCLUSION

 2           Defendants respectfully request this Court grant this Motion and permit unredacted copies of the

 3 following documents to be filed under seal:

 4       1. Ex. 1: U.S. Department of Agriculture’s List of Employees

 5       2. Ex. 2: U.S. Department of Defense’s List of Employees

 6       3. Ex. 3: U.S. Department of Energy’s List of Employees

 7       4. Ex. 4: U.S. Department of the Interior’s List of Employees

 8       5. Ex. 5: U.S. Department of the Treasury’s List of Employees

 9       6. Ex. 6: U.S. Department of Veterans Affairs’ List of Employees

10

11 DATED: March 20, 2025                               Respectfully submitted,

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